
In re Jones, Lester; — Defendant(s); applying for supervisory and/or remedial writs; to the Court of Appeal, Fourth Circuit, No. 94KW-0310; Parish of Orleans, Criminal District Court, Div. “B”, No. 356-872.
Stay order vacated. The case may proceed to trial if the district attorney stipulates that he will forego use of La.Code Crim.Proe. art. 905.2 B. In the alternative, if the district attorney prefers not to forego use of La.Code Crim.Proe. art. 905.2 B, he shall notify this Court of his decision by March 16, 1994, in which case the trial shall be stayed and the application will be granted and assigned for oral argument.
DENNIS, J., not on panel.
